                1:16-cv-02792-JMC                 Date Filed 01/21/20      Entry Number 148          Page 1 of 2



AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of South Carolina


                 Adrienne W. Saulsberry                             )

                            Plaintiff                               )
                         v.                                         )      Civil Action No.     1:16-cv-2792-JMC
          Savannah River Remediation, LLC.                          )

                           Defendant                                )

                                    AMENDED JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

O the plaintiff Adrienne W. Saulsberry recover from the defendant Savannah River Remediation, LLC., the amount
of fifty-five thousand dollars ($55,000.00) compensatory damages, four hundred twenty thousand dollars
($420,000.00) back pay and one million dollars ($1,000,000.00) punitive damages, for a total of one million four
hundred seventy-five dollars ($1,475,000.00), plus postjudgment interest at the rate of 1.86 %, along with costs. Pre-
judgment interest in the amount of Fifty-Five Thousand, One Hundred Eighteen ($55,118.00) dollars. Front pay in the
amount of Two-Hundred Forty Thousand, One Hundred Seven ($240,107.00) dollars.


 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: Summary judgment is entered for defendant Savannah River Remediation, LLC. against plaintiff Adrienne
W. Saulsberry, as to plaintiff’s claims based upon her termination in Savannah River Remediation, LLC.’s 2013
Workforce Reduction.


This action was (check one):
O tried by a jury, the Honorable J. Michelle Childs, United States District Judge, presiding, and the jury has rendered a
verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.
             1:16-cv-02792-JMC          Date Filed 01/21/20       Entry Number 148            Page 2 of 2



O decided by the Honorable J. Michelle Childs, United States District Judge, presiding. The Court having accepted in
part the Report and Recommendation of Magistrate Judge Paige J. Gossett which granted in part defendant Savannah
River Remediation, LLC.’s motion for summary judgment.


Date: January 21, 2020


                                                                               CLERK OF COURT


                                                                                   s/Angie Snipes

                                                                             Signature of Clerk or Deputy Clerk
